Name and address:
          Case 2:23-cv-01049-JWH-KES Document 316-1 Filed 05/06/24 Page 1 of 1 Page ID
                                           #:9448
Christina N. Goodrich (SBN 261722)
K&L GATES LLP
10100 Santa Monica Boulevard, 8th Floor
Los Angeles, CA 90067




                                                     UNITED STATES DISTRICT COURT
                                                    CENTRAL DISTRICT OF CALIFORNIA
                                                                                CASE NUMBER
Entropic Communications, LLC
                                                                                                   2:23-cv-01049-JWH-KES
                                                                 Plaintiff(s)
                                        v.
                                                                                     (PROPOSED) ORDER ON APPLICATION
Cox Communications, Inc., et al.
                                                                                    OF NON-RESIDENT ATTORNEY TO APPEAR
                                                             Defendant(s).              IN A SPECIFIC CASE PRO HAC VICE

The Court, having determined whether the required fee has been paid, and having reviewed the
Application of Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
Galluzzo, Vincent J.                               of K&L Gates LLP
 Applicant’s Name (Last Name, First Name & Middle Initial)                          300 South Tryon Street, Suite 1000
(704) 331-7526                           N/A                                        Charlotte, NC 28202
Telephone Number                          Fax Number
vincent.galluzzo@klgates.com
                               E-Mail Address                                       Firm/Agency Name & Address

 for permission to appear and participate in this case on behalf of
Entropic Communications, LLC



 Name(s) of Party(ies) Represented                                               Plaintiff(s)   Defendant(s)       Other:
 and designating as Local Counsel
Goodrich, Christina N.                                                          of K&L Gates LLP
 Designee’s Name (Last Name, First Name & Middle Initial)                           10100 Santa Monica Boulevard, 8th Floor
      261722            (310) 552-5547       (310) 552-5001                         Los Angeles, CA 90067
 Designee’s Cal. Bar No.         Telephone Number           Fax Number
christina.goodrich@klgates.com
                        E-Mail Address                                              Firm/Agency Name & Address

  HEREBY ORDERS THAT the Application be:
       GRANTED.
       DENIED:  for failure to pay the required fee.
                            for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
                            for failure to complete Application:
                            pursuant to L.R. 83-2.1.3.2:       Applicant resides in California;     previous Applications listed indicate Applicant
                            is regularly employed or engaged in business, professional, or other similar activities in California.
                            pursuant to L.R. 83-2.1.3.4; Local Counsel:      is not member of Bar of this Court;  does not maintain office in District.
                            because

  IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid:                                              be refunded      not be refunded.

  Dated
                                                                                         U.S. District Judge/U.S. Magistrate Judge
G–64 ORDER (5/16)          (PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE             Page 1 of 1
